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                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS
                                 KANSAS CITY

 MARIA VARGAS,
                                       Plaintiff,
                                                    Case No. 17-CV-02588 DDC/JPO
 vs.

 SYNCHRONY BANK, et al.,
                       Defendants.



        STIPULATION OF DISMISSAL WITH PREJUDICE OF DEFENDANTS
        SYNCHRONY BANK AND EQUIFAX INFORMATION SERVICES LLC

       Plaintiff and Defendants Synchrony Bank and Equifax Information Services LLC file this

stipulation of dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

       1.      Plaintiff is Maris Vargas; Defendants are Synchrony Bank, Experian Information

Solutions, Inc., Trans Union LLC and Equifax Information Services LLC.

       2.      This case was removed to federal court on October 9, 2017 (Doc. 1).

       3.      Plaintiff and Defendant Trans Union, LLC filed a Stipulation of Dismissal of

Defendant Trans Union, LLC only on May 1, 2018 (Doc. 43).

       4.      Plaintiff and Defendant Experian Information Solutions, Inc. filed a Stipulation of

Dismissal of Defendant Experian Information Solutions, Inc. only on May 21, 2018 (Doc. 44).

       5.      Plaintiff now moves to dismiss the lawsuit against remaining Defendants

Synchrony Bank and Equifax Information Services LLC.

       6.      Remaining Defendants Synchrony Bank and Equifax Information Services LLC

agrees to the dismissal.

       7.      This case is not a class action.

       8.      A receiver has not been appointed in this case.
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       9.      This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       10.     Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.

       11.     This dismissal is with prejudice to refiling.

       12.     Each party is to bear its own fees and costs.

                                              Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing was filed on August 10, 2018, using the
District Court’s CM/ECF electronic filing system, which will send notice to all counsel of
record.
                                                      /s/ A.J. Stecklein
                                                      A.J. Stecklein #16330
